                        3:20-cv-03149-SEM-TSH # 15              Page 1 of 2
                                                                                                           E-FILED
                                                                       Tuesday, 06 October, 2020 11:50:29 AM
                                                                                 Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS

DEBORAH LAUFER, Individually,
                                                      Case No.: 3:20-cv-03149-SEM-TSH
               Plaintiff ,
v.

Q ILL DEVELOPMENT LLC d/b/a
EAGLES NEST HOTEL, an Illinois Limited
Liability Company,

            Defendant.
___________________________

            PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO STRIKE

       Plaintiff, by and through undersigned counsel, respectfully submits this Response to

Defendant’s Motion to Strike Plaintiff’s submission of supplemental authority, and hereby states as

follows:

       1.      On October 2, 2020, Defendant Q ILL DEVELOPMENT LLC filed a Motion to

Strike Plaintiff’s submission of supplemental authority, DE 13, dated September 29, 2020. DE 14.

       2.      In support thereof, Defendant argues that Plaintiff violated Central District of Illinois

Local Rule 7.1(b)(3), which requires leave of Court to file a reply to the Response on a Motion to

Dismiss.

       3.      However, Local Rule 7.1(b)(3) does not apply here as Plaintiff did not file a reply but

rather a Notice of Supplemental Authority, which does not fall within the purview of this rule.

       4.      Defendant also argues that Plaintiff violated Local Rule 49.9(c) which does not allow

ex parte communications between litigants and the Court without properly identifying the

communication as such.



                                                  1
                        3:20-cv-03149-SEM-TSH # 15              Page 2 of 2




        5.     As Local Rule 49.9(c) applies to criminal cases, not civil cases, it has no applicability

here.

        6.     Finally, Plaintiff’s supplemental filing merely directs the Court’s attention to legal

authority that was not available at the time that Plaintiff filed her response to Defendant’s Motion

to Dismiss.

        WHEREAS Plaintiff respectfully requests that this Court enter an Order deny Defendant’s

Motion to Strike Plaintiff’s Notice of Supplemental Authority, and for any other relief the Court

deems appropriate.

        Respectfully submitted,
                                                       By: /s/ Kimberly A. Corkill, Esq.

                                                       Kimberly A. Corkill, Of Counsel
                                                       Thomas B. Bacon, P.A.
                                                       7 N. Coyle Street
                                                       Pensacola, FL 32502
                                                       ph. 850-375-3475
                                                       fx 877-828-4446
                                                       kimberlyatlaw@gmail.com
                                                       Florida Bar Id. No. 84942

                                                       Thomas B. Bacon, Esq.
                                                       Thomas B. Bacon, P.A.
                                                       644 North Mc Donald St.
                                                       Mt. Dora, FL 32757
                                                       ph. (850)375-3475
                                                       kimberlyatlaw@gmail.com
                                                       Florida Bar. Id. No. 139262

                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served via the Court's

electronic filing system upon all parties of record this October 6, 2020.

                                                       By: /s/ Kimberly Corkill


                                                  2
